                            NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                         AUG 21 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                        No.    22-10260

                Plaintiff-Appellee,              D.C. No.
                                                 3:20-cr-00086-WHO-1
 v.

ALEJANDRO ALVAREZ, AKA Alejandro                 MEMORANDUM*
Alvarez Castro, AKA Alejandro Castro-
Lopez, AKA Chewy,

                Defendant-Appellant.

                  Appeal from the United States District Court
                       for the Northern District of California
                 William Horsley Orrick, District Judge, Presiding

                        Argued and Submitted April 5, 2024
                            San Francisco, California

Before: M. SMITH, HURWITZ, and JOHNSTONE, Circuit Judges.

      Alejandro Alvarez, also known as “Chewy,” was convicted after a jury trial

of possession with intent to distribute more than 500 grams of methamphetamine

in violation of 21 U.S.C. § 841(a)(1), (b)(1)(A)(viii). Alvarez appeals the district

court’s denial of his pretrial motion to suppress evidence obtained from his cell-



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
phone provider, his residence, his person, and two cell phones found in his

possession at the time of his arrest. Alvarez also appeals the district court’s denial

of a hearing under Franks v. Delaware, 438 U.S. 154 (1978). We review de novo

the district court’s ruling on a motion to suppress and its denial of a Franks

hearing. United States v. Norris, 942 F.3d 902, 907 (9th Cir. 2019). Exercising our

jurisdiction under 28 U.S.C. § 1291, we affirm. Because the parties are familiar

with the facts, we do not recount them here, except as necessary to provide context

to our ruling.

      1. The district court did not err in concluding that probable cause supported

the first two warrants issued in this case, each of which authorized the collection of

cell-location information from Chewy’s suspected mobile device (the “Ping

Warrants”). See United States v. Elmore, 917 F.3d 1068, 1074 (9th Cir. 2019)

(“Probable cause exists where the totality of the circumstances indicates a ‘fair

probability that . . . evidence of a crime will be found in a particular place.’”

(quoting Illinois v. Gates, 462 U.S. 213, 238 (1983))). The affidavits supporting

the Ping Warrants contained reports by a confidential informant who provided

Chewy’s known phone number and stated that Chewy could provide

methamphetamine and heroin. Although the affidavits did not contain information

about the confidential informant’s credibility, the affiant officer, Officer Tursi,

explained that the confidential informant’s reports were corroborated through


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supervised controlled buys. As the district court found, these facts provided a

“substantial basis” for the issuing magistrate to conclude that the evidence sought

would lead to evidence of wrongdoing. See United States v. Bishop, 264 F.3d 919,

925–26 (9th Cir. 2001); see also United States v. Artis, 919 F.3d 1123, 1134–35

(9th Cir. 2019) (upholding probable cause determination where officers

corroborated unidentified informant’s tip).

      2. The district court did not err in concluding that probable cause supported

the third warrant issued in this case, which authorized a search of Alvarez’s person

and Alzarez’s suspected residence (the “Personal Warrant”). See Elmore, 917 F.3d

at 1074. Officer Tursi’s supporting affidavit recounted: (1) the prior controlled

buys; (2) the officers’ observation that a man matching Alvarez’s description

answered when they called the cell phone number subject to the Ping Warrants;

(3) the officers’ observations of the same man leave Alvarez’s suspected residence

and lock the door; and (4) the results of the Ping Warrants, which often placed the

subject cell phone at this residence. Officer Tursi also stated his belief, based on

training and experience, that those involved in drug trafficking often keep narcotics

in their homes. Taken together, these facts provided a substantial basis for the

issuing magistrate to infer that evidence of drug trafficking would be found on

Alvarez and in his suspected residence. See United States v. Kvashuk, 29 F.4th

1077, 1085 (9th Cir. 2022); United States v. Angulo-Lopez, 791 F.2d 1394, 1399


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(9th Cir. 1986).

      3. Nor did the district court err in concluding that probable cause supported

the warrantless arrest of Alvarez, incident to which police seized from his person

two cell phones and keys to the residence subject to the Personal Warrant. See

United States v. Brobst, 558 F.3d 982, 997 (9th Cir. 2009). Even assuming the

arrest occurred when Officer Tursi pointed his gun toward Alvarez to stop

Alvarez’s flight, see United States v. Smith, 633 F.3d 889, 892–93 (9th Cir. 2011),

this attempted flight, along with the officers’ prior investigations, established “a

fair probability that [Alvarez] had committed a crime.” United States v. Struckman,

603 F.3d 731, 739 (9th Cir. 2010) (quoting United States v. Gonzales, 749 F.2d

1329, 1337 (9th Cir. 1984)).

      4. The district court did err in concluding that the fourth and final warrant

issued in this case, which authorized a search of the contents of the cell phones

found on Alvarez following his arrest (the “Cell Warrant”), was not overbroad.1

See King, 985 F.3d at 707. While Officer Tursi’s supporting affidavit established

probable cause to believe that evidence of communications about drug-sales

activities would be found on the cell phones, the affidavit provides no basis to

conclude that the cell phones’ media files would contain evidence of drug


1
 We otherwise agree with the district court that the Cell Warrant’s supporting
affidavit met the Fourth Amendment’s particularity requirements. See United
States v. King, 985 F.3d 702, 707 (9th Cir. 2021).

                                           4
trafficking. See id. (“The scope of a warrant must be limited by its probable cause.”

(citing United States v. SDI Future Health, Inc., 568 F.3d 684, 702 (9th Cir.

2009))). Therefore, the Cell Warrant was overbroad with respect to the seizure of

the cell phones’ media files. See SDI Future Health, 568 F.3d at 705 (finding

portions of a warrant overbroad where “probable cause [did not] exist[] to seize all

items of [those] particular type[s]” (alterations in original) (quoting United States

v. Adjani, 452 F.3d 1140, 1148 (9th Cir. 2006))).

      However, as Alvarez conceded during oral argument, the district court’s

error was harmless given the other evidence obtained and introduced at trial. See

28 U.S.C. § 2111; Fed. R. Crim. P. 52(a). “A party . . . is bound by concessions

made in its brief or at oral argument.” Hilao v. Est. of Marcos, 393 F.3d 987, 993

(9th Cir. 2004) (citing United States v. Crawford, 372 F.3d 1048, 1055 (9th Cir.

2004) (en banc)).

      5. Finally, the district court did not err in denying Alvarez a Franks hearing.

Alvarez failed to present support for his contention that Officer Tursi intentionally

or recklessly misled the issuing judge by omitting critical information about the

confidential informant in the applications for the Ping and Personal Warrants. See

United States v. Chavez-Miranda, 306 F.3d 973, 979 (9th Cir. 2002). Further,

Alvarez also failed to show that these omissions materially affected the issuing

magistrates’ probable cause determinations, especially in light of the corroborating


                                          5
investigations that officers performed. See Norris, 942 F.3d at 909–10; cf. United

States v. Bennett, 219 F.3d 1117, 1125 (9th Cir. 2000) (upholding probable cause

determination based in part on officers’ monitoring of drug transactions, even

considering a confidential informant’s diminished credibility).

      AFFIRMED.




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